                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 PAR PHARMACEUTICAL INC.,
 PAR STERILE PRODUCTS, LLC, and
 ENDO PAR INNOVATION COMPANY, LLC

                Plaintiff,                           C.A. No. 18-cv-2032-CFC

        v.

 AMPHASTAR PHARMACEUTICALS, INC.

                Defendants.



                               STIPULATION OF DISMISSAL

Pursuant to Rules 41(a)(l) and 41(c) of the Federal Rules of Civil Procedure, Plaintiffs Par

Pharmaceutical Inc., Par Sterile Products, LLC, and Endo Par Innovation Co., LLC (collectively,

“Par”) and Defendant Amphastar Pharmaceuticals, Inc. (“Amphastar”) hereby stipulate and

agree that Par’s action against Amphastar and Amphastar’s action against Par, including all

claims and defenses asserted by Par against Amphastar and all claims and defenses asserted by

Amphastar against Par, are hereby dismissed without prejudice.




IT IS SO STIPULATED:
Dated: August 20, 2020                        Respectfully submitted,

FARNAN LLP                                    PHILLIPS GOLDMAN MCLAUGHLIN
                                              &HALL, P.A.
/s/ Brian E. Farnan
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                                              Attorneys for Defendant Amphastar
                                              Pharmaceuticals, Inc.


SO ORDERED this ____ day of August 2020



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                           Colm F. Connolly, United States District Judge
